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                          IN THE UNITED STATES DISTRICT COURT
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                                FOR THE DISTRICT OF ARIZONA
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 9   Victor Antonio Parsons, et al.,                   No. CV 12-0601-PHX-DJH
10                        Plaintiffs,
                                                       ORDER
11   vs.
12   Charles L. Ryan, et al.,
13                        Defendants.
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15          This matter is before the Court on the parties' Joint Motion to Refer Remainder of
16   Case to Magistrate Judge Duncan and to Refer Case to Magistrate Judge Buttrick for
17   Mediation (Doc. 1186).       The parties assert in the motion that they consent to the
18   reassignment of this case to Magistrate Judge David Duncan pursuant to 28 U.S.C. §
19   636(c) and Rule 73 of the Federal Rules of Civil Procedure. The parties request that
20   Judge Duncan conduct all further proceedings in this case "because his constructive
21   participation in the settlement negotiations has provided him with a unique ability to
22   effectuate the parties' intent in any future proceedings." Based on the parties' consent, the
23   first part of the motion will be granted.
24          With respect to the parties' request to refer the case to Magistrate Judge Buttrick to
25   mediate any future disputes about compliance, the Court declines to do so at this stage.
26   In light of the reassignment of this matter to Judge Duncan, any requests to refer the
27   matter to a magistrate judge for mediation of future disputes should be directed to Judge
28   Duncan when, and if, such disputes arise.
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     IT IS THEREFORE ORDERED:
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           That the Joint Motion to Refer Remainder of Case to Magistrate Judge Duncan
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     and to Refer Case to Magistrate Judge Buttrick for Mediation (Doc. 1186) is GRANTED
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     in part and DENIED in part without prejudice, as set forth above;
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           That, pursuant to the parties' written consent in the Joint Motion, the Clerk of
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     Court shall reassign this matter to Magistrate Judge David Duncan for all further
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     proceedings; and
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           That the pending motion at doc. 1188 will be decided by Judge Duncan.
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           Dated this 22nd day of October, 2014.
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